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      IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF UTAH


  LARADA SCIENCES, INC., a Delaware                    OPPOSITION TO SHORT FORM
  Corporation,                                         DISCOVERY MOTION

                        Plaintiff,                     Case No. 2:18-cv-00551-RJS-JCB

           v.
                                                       Chief Judge Robert J. Shelby
  PEDIATRIC HAIR SOLUTIONS
  CORPORATION, a North Carolina                        Magistrate Judge Jared C. Bennett
  Corporation, et al.

                      Defendants.

          The Court should deny Plaintiff’s wholly meritless Motion and award Defendants their

 costs.

     I.         The Plain Text of the Protective Order Precludes Washburn’s Designation as a
                Technical Advisor

          A protective order “governs information produced in [an] action, designating information

 into protective categories such as Confidential Information – Attorneys Eyes Only and

 Confidential Information.” Powerteq LLC, 2019 WL 6682395, at *1. “It also classifies

 individuals who are authorized and not authorized to review the designated information.” Id.

          On March 4, 2019, the Court entered a Stipulated Protective Order that provided, in

 relevant part: “[t]he term TECHNICAL ADVISOR shall refer to any person who is not a party




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 to this action and/or not presently employed by the receiving party . . . .”1 (ECF No. 44 at 5

 (emphasis added).) “Under the Protective Order terms, parties may designate any person as a

 Technical Advisor if certain conditions are met.” Powerteq, 2019 WL 6682395 at *1. “To

 qualify as a Technical Advisor [Washburn] cannot be a party to the action, [or] an employee

 of” Larada. Id. (bold added). Washburn is not just an employee of Larada. He, as a VP, oversees

 “product development” and “product design” for Larada. (See ECF No. 134-1 at 1.) This makes

 him especially situated to take positions directly harmful to PHS should he be allowed to inspect

 the FloSonix device. The plain text of the Protective Order compels the Court to DENY Larada’s

 Motion.

     II.      The Court Should Award Defendants Their Costs

           In its Proposed Order, Larada wrote: “[p]ursuant to Rule 37 . . . the Court hereby Grants

 Plaintiff[’s] . . . Motion . . . .” (ECF No. 134-2 at 1.) Larada effectively sought an order from this

 Court compelling inspection of the FloSonix device. Under Rule 37(a)(5)(B), “[i]f the motion [to

 compel] is denied, the court . . . must, after giving an opportunity to be heard, require the movant

 . . . to pay the party . . . who opposed the motion its reasonable expenses incurred in opposing the

 motion, including attorney’s fees. But the court must not order this payment if the motion was

 substantially justified or other circumstances make an award of expenses unjust.” “A request for

 discovery is ‘substantially justified’ under Rule 37 if reasonable people could differ on the matter

 in dispute.” Entrata, 2018 WL 5470454, at *7. Reasonable people cannot differ here. The plain




 1
  Larada’s counsel was well-aware of the Protective Order. On April 8, 2021, he sent an email to
 Defendants’ counsel, “[a]ttached . . . the signed protective order disclosure agreement[] for David
 Washburn,” and “note[d] that . . . Washburn is a current Larada employee . . . .” (Attachment A).
 Washburn signed the Disclosure Agreement on 3/30/21 wherein he represented that he had “read,
 underst[ood], and agree[d] to comply with and be bound by the terms of the Protective Order.”
 (Attachment B at 29.)
                                                      2
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       text of the Protective Order makes clear that Larada’s Motion is wholly meritless.

  DATED: June 4, 2021.

                                                   ARMSTRONG TEASDALE LLP


                                                   /s/ Jose A. Abarca
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                                                   Nicolas C. Wilde

                                                   Attorneys for Defendants




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                                 CERTIFICATE OF SERVICE

        I hereby certify that that on June 4, 2021, I caused a true and correct copy of the

 foregoing to be served via CM/ECF on the following:


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                                                                      /s/ Shelby K. Irvin




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